     Case 5:15-cv-00445-DNH-TWD Document 110 Filed 07/31/18 Page 1 of 1



    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK

    ALONZO GRANT & STEPHANIE GRANT,

                           Plaintiff,

            -against-                                           5:15-CV-0445 (LEK / TWD)

    CITY OF SYRACUSE, DAMON LOCKETT,
    PAUL MONTALTO, BRIAN NOVITSKY &
    CHIEF OF POLICE FRANK FOWLER,

                           Defendants.


                                   ORDER FOR TRANSFER



It is hereby ORDERED that this case is transferred to the Honorable David N. Hurd, U.S. District

Judge for the Northern District of New York, for all further proceedings.



IT IS FURTHER ORDERED that the Clerk serve a copy of this order on all parties.


IT IS SO ORDERED:

July 31, 2018
Albany, New York
